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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND

 VINCENT R. COCCOLI, SR.,
             Plaintiff,

         vs.                                            No. 1:19-cv-00489-WES-LDA

 DAVID D’AGOSTINO, JR., ESQ; DAVID
 D’AGOSTINO, SR.; PETER FURNESS,
 ESQ.; ALDEN HARRINGTON, ESQ.;
 DAVID PROVONSIL; JEFFREY HANSON;
 THEODORE PRYZBYLA; THE TOWN OF
 SCITUATE; TOWN OF SCITUATE PLAN
 COMMISSION/BOARD; SCITUATE TOWN
 COUNCIL,
             Defendants.


    MUNICIPAL DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S AMENDED
                   COMPLAINT IN LIEU OF ANSWER
        Now come the Defendants, David D’Agostino, Sr., David Provonsil, Jeffery Hanson,

 Theodore Pryzbyla, the Town of Scituate; Town of Scituate Plan Commission, and Scituate Town

 Council (“Municipal Defendants”) and move to dismiss Plaintiff’s Amended Complaint in lieu of

 answer, pursuant to Rule 12(b)(6). The Municipal Defendants rely on their memorandum of law

 attached and incorporated herein.

                                           Municipal Defendants,
                                           By their attorneys,

                                           /s/ Patrick K. Cunningham
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                                  CERTIFICATION OF SERVICE

        I hereby certify that the within document has been electronically filed with the Court on

 this 4th day of November 2019 and is available for viewing and downloading from the ECF system.

 Service on the pro se plaintiff, as listed below, will be effectuated by electronic means:

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                                                   /s/ Patrick K. Cunningham




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